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  MON LLC,
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  Bodyguard Productions, Inc.,
  TBV Productions, LLC,
  UN4 Productions, Inc., and
  Hunter Killer Productions, Inc.

                       UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

   Venice PI, LLC et al.,                )   Case No.: 1:19-cv-169-LEK-KJM
                                         )   (Copyright)
                    Plaintiffs,          )
      vs.                                )   PLAINTIFFS’ SECOND MOTION
                                         )   FOR LEAVE TO FILE FIRST
   Doe 1 et. al.,                        )   AMENDED COMPLAINT;
                                         )   DECLARATION OF COUNSEL;
                    Defendants.          )   EXHIBITS 1-2
                                         )
                                         )
                                         )

        PLAINTIFFS’ SECOND MOTION FOR LEAVE TO FILE FIRST
                       AMENDED COMPLAINT

        COME NOW, Plaintiffs Venice PI, LLC, MON LLC, Millennium Funding,

  Inc., Bodyguard Productions, Inc., TBV Productions, LLC, UN4 Productions, Inc.,
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  and Hunter Killer Productions, Inc. by and through their counsel, move for leave to

  amend the complaint. This motion is brought pursuant to pursuant to Rule 15(a)(2)

  of the Federal Rules of Civil Procedure.

        DATED: Kailua-Kona, Hawaii, October 24, 2019.



                                  CULPEPPER IP, LLLC


                                  /s/ Kerry S. Culpepper
                                  Kerry S. Culpepper

                                 Attorney for Plaintiffs
